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AO 450 (SCD 04/2010) Judgment in a Civil Action


                                    UNITED STATES DISTRICT COURT
                                                                 for the
                                                        District of South Carolina


                    Gavin Less Nowlin,                                 )
                            Plaintiff                                  )
                            v.                                         )    Civil Action No.      8:20-cv-03043-HMH
                   Major Jeff Johnson,                                 )
                           Defendant                                   )

                                                  JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

 the plaintiff (name)                  recover from the defendant (name)              the amount of                dollars ($   ),
which includes prejudgment interest at the rate of             %, plus postjudgment interest at the rate of         %, along with
costs.
 the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
recover costs from the plaintiff (name)                            .
X other: ORDERED that the Petition in this case is dismissed without requiring the respondent
to file a return. It is further ORDERED that a certificate of appealability is denied.


This action was (check one):
 tried by a jury, the Honorable                           presiding, and the jury has rendered a verdict.

 tried by the Honorable                          presiding, without a jury and the above decision was reached.

X decided by the Honorable Henry M. Herlong, Jr


Date: October 19, 2020                                                     CLERK OF COURT


                                                                                        s/Rob Weber, Deputy Clerk
                                                                                       Signature of Clerk or Deputy Clerk
